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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                                          CASE NO. 8:04-cr-297-T-23TGW

    OSCAR ENRIQUE VIRULA ARREDONDO
                                                           1


                                                    ORDER

            The defendant filed a "Motion for Unsealing of Transcript" (Doc. 231) in which he

     requests the unsealing of the side-bar conference that occurred at his sentencing

     hearing.

            The Eleventh Circuit Court of Appeals affirmed the defendant's sentence on

     July 19, 2006 (Doc. 225). the Supreme Court of the United States has denied certiorari

     (Doc. 226), and no proceeding presently pends. Accordingly, the motion is DENIED.'

     United States v. Lewis, 37 F. 3d 1510 (table), 1994 WL 563442 (lothCir. 1994); Skinner

     v. United States, 434 F.2d 1036 (5'h Cir. 1970); Walker v. United States, 424 F.2d 278

     (5thCir. 1970). See also United States v. MacCollom, 426 U S . 317, 96 S. Ct. 2086

     (1976).

            ORDERED in Tampa, Florida, on               FSRMMW~
                                                             ,2007.




                                                             Steven D. Merryday
                                                       UNITED STATES DISTRICT JUD




              ' The reporter has never transcribed the side-bar conference, which was under seal (by agreement
     of the parties) but played no part in the defendant's appeal. The defendant's motion presumably seeks both
     unsealing and transcription, but he presently shows a basis for neither.
